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Attorneys for Plaintiff

                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA

UNITED STATES OF AMERICA,                  No. 3:21-cr-00068-SLG-DMS

                     Plaintiff,            COUNT 1:
                                           SEXUAL EXPLOITATION OF
      vs.                                  CHILDREN – PRODUCTION OF CHILD
                                           PORNOGRAPHY
CHRISTOPHER PANAGIOTOU-                      Vio. of 18 U.S.C. § 2251(a), (e)
SCIGLIANO,
                                           CRIMINAL FORFEITURE
                     Defendant.            ALLEGATION:
                                             18 U.S.C. § 2253 and 28 U.S.C.
                                           § 2461(c)




                                  INDICTMENT

      The Grand Jury charges that:

                                     COUNT 1

      In about February 2019, within the District of Alaska, at or near Haines, the

defendant, CHRISTOPHER PANAGIOTOU-SCIGLIANO, employed, used, persuaded,




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induced, enticed, and coerced a minor, “Victim A”, with the intent that the minor engage

in sexually explicit conduct for the purpose of producing a visual depiction of such conduct,

which visual depiction was produced and transmitted using materials that had been mailed,

shipped, and transported in and affecting interstate and foreign commerce by any means,

including by computer, and was transported and transmitted using a means and facility of

interstate and foreign commerce, and in and affecting interstate and foreign commerce.

       All of which is in violation of 18 U.S.C. § 2251(a), (e).

                     CRIMINAL FORFEITURE ALLEGATION 1

       The allegations contained in Count 1 of this Indictment are hereby realleged and

incorporated by reference for the purpose of alleging forfeitures pursuant to 18 U.S.C.

§ 2253 and 28 U.S.C. § 2461(c).

       Upon conviction of the offense in violation of 18 U.S.C. § 2251, as set forth in Count

1 of this Indictment, the defendant, CHRISTOPHER PANAGIOTOU-SCIGLIANO, shall

forfeit to the United States pursuant to 18 U.S.C. § 2253 and 28 U.S.C. § 2461(c) his

interest in any and all matter which contains visual depictions produced, transported,

mailed, shipped, or received in violation thereof; any property constituting or traceable to

gross profits or other proceeds the defendant obtained as a result of the aforementioned

violation; and any and all property used or intended to be used to commit and to promote

the commission of the aforementioned violation, including but not limited to a Dell

Inspiron 3583 computer, serial number 8DNW5Z2.

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        All pursuant to 18 U.S.C. ' 2253 and 28 U.S.C. ' 2461(c).

        A TRUE BILL.

                                                s/ Grand Jury Foreperson
                                                GRAND JURY FOREPERSON



s/ Kyle Reardon for
JAMES KLUGMAN
Assistant U.S. Attorney
United States of America



s/ E. Bryan Wilson
E. BRYAN WILSON
Acting United States Attorney
United States of America


Date:         7/22/21




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